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OAO 245D        (Rev. 12/03) Judgment in a Criminal Case for Revocations
                Sheet 1



                                        UNITED STATES DISTRICT COURT
                        WESTERN                                       District of                               ARKANSAS
         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               V.                                            (For Revocation of Probation or Supervised Release)


                BRANDON STEWART                                              Case Number:                      4:00CR40009-002
                                                                             USM Number:                       05900-010
                                                                             John F. Stroud, III
                                                                             Defendant’s Attorney
THE DEFENDANT:
X   plead guilty to violation of condition(s) Standard Drug Condition and Special Condition #1 of the term of supervision.

G was found in violation of condition(s)                                                  after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                                Violation Ended

Standard Drug Condition             Defendant Tested Positive for Marijuana Use on 12/14/2006; 01/04/2007;             07/23/2007
                                    03/13/2007; 04/29/2007; 06/03/2007; and 07/23/2007

Special Condition #1                Failure to Report for Drug Testing on 04/23/2007; 05/10 & 22/2007; and    06/14/2007
                                    06/14/2007. Defendant submitted an adulterated urine specimen on 7/16/07.

        The defendant is sentenced as provided in pages 2 through        3      of this judgment. The sentence is imposed by
referring to the U.S. Sentencing Guidelines as only advisory within the statutory range for offense(s).
G The defendant has not violated condition(s)                                         and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Defendant’s Soc. Sec. No.:     XXX-XX-0092                                   August 31, 2007
                                                                             Date of Imposition of Judgment
Defendant’s Date of Birth:     XX/XX/1975
                                                                             /S/ Harry F. Barnes
                                                                             Signature of Judge
Defendant’s Residence Address:

XXXXXXXXXXXXX
Texarkana, AR 71854                                                          Honorable Harry F. Barnes, United States District Judge
                                                                             Name and Title of Judge


                                                                             September 6, 2007
                                                                             Date
Defendant’s Mailing Address:

Same as above
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AO 245D      (Rev. 12/03 Judgment in a Criminal Case for Revocations
             Sheet 2— Imprisonment

                                                                                                     Judgment — Page   2       of   3
DEFENDANT:                    BRANDON STEWART
CASE NUMBER:                  4:00CR40009-002


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :     twelve (12) months and one (1) day. No supervision will follow term of imprisonment.




    X The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends the defendant be allowed to participate in substance abuse treatment.




    G The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

          G at                                     G a.m.         G p.m.       on                                          .
               as notified by the United States Marshal.

    X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          X before 2 p.m. on          October 10, 2007                     .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

a                                                     with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
AO 245D    Case    4:00-cr-40009-HFB
           (Rev. 12/03) Judgment in a Criminal Case for Document
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            Sheet 5 — Criminal Monetary Penalties
                                                                                                     Judgment — Page     3      of          3
DEFENDANT:                        BRANDON STEWART
CASE NUMBER:                      4:00CR40009-002
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                      Assessment                                      Fine                                 Restitution
TOTALS            $ -0-                                           $   -0-                               $ -0-


G The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                Total Loss*                       Restitution Ordered                     Priority or Percentage




TOTALS                               $                                     $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the            G fine       G restitution.
     G the interest requirement for the             G fine     G restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
